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17                            UNITED STATES DISTRICT COURT

18                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

19   UNITED STATES OF AMERICA,                 No. 23-CR-00021-JGB

20               Plaintiff,                    GOVERNMENT’S MEMORANDUM OF POINTS
                                               AND AUTHORITIES IN SUPPORT OF
21                     v.                      REQUEST FOR PRETRIAL DETENTION;
                                               EXHIBITS
22   JASON EDWARD THOMAS CARDIFF,

23               Defendant.

24

25         Plaintiff United States of America, by and through undersigned
26   counsel, submits this brief in support of its notice of request for
27   detention of the defendant, Jason Edward Thomas Cardiff, pending
28   trial pursuant to 18 U.S.C. § 3142(e).
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1     Dated: November 29, 2023              Respectfully submitted,

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          The government respectfully requests that the Court order

4    defendant Jason Edward Thomas Cardiff (“defendant”) detained pending

5    trial in these matters.

6          Redwood Scientific Technologies, Inc. (“Redwood”) is a Delaware

7    corporation with its corporate headquarters located in Upland,

8    California. Redwood sold various products to consumers, including

9    thin film strips marketed as homeopathic remedies causing weight

10   loss, male sexual enhancement, and smoking cessation. Defendant

11   served as Redwood’s Chairman of the Board of Directors, Chief

12   Executive Officer, and President.

13         As alleged in the Indictment, during approximately January 2018

14   through May 2018, the defendant ordered his employees to participate

15   in a scheme that defrauded consumers out of hundreds of thousands of

16   dollars. Specifically, the defendant engaged in a scheme to charge

17   prior one-time single-purchase customers and place them on periodic

18   continuity sales plans without their authorization or consent.

19   During this scheme to defraud, the defendant also ordered the

20   deletion and destruction of documents that Redwood had been ordered

21   to produce as a part of a Federal Trade Commission (“FTC”)

22   investigation.

23         The FTC investigation uncovered numerous consumer complaints

24   related to Redwood’s sales practices and led to a civil enforcement

25   suit in this district in FTC v. Cardiff, et al., Case No. 5:18-cv-

26   02104-DMG-PLA. 1 In March 2022, the Court issued a permanent

27

28         1The case was originally assigned to Hon. James V. Otero, and
     then re-assigned to Hon. Dolly M. Gee.
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1    injunction against Redwood after finding that the FTC prevailed on

2    all 16 counts in its complaint against defendant, his wife, and

3    Redwood. [Dkt. 706].

4           Shortly after the FTC litigation ended in early 2022, the

5    defendant sold his residence in the United States and moved to

6    Ireland, where he maintains dual citizenship. His wife and daughter

7    moved with him and are currently residing in Ireland.

8           On January 31, 2023, a federal grand jury returned an Indictment

9    against the defendant that charged him with one count of access

10   device fraud, in violation of 18 U.S.C. § 1029(a)(5), one count of

11   aggravated identity theft, in violation of 18 U.S.C. § 1028A(a)(1),

12   and two counts of witness tampering, in violation of 18 U.S.C. §

13   1512(b)(2)(B). [Dkt. #1].       The Court issued an arrest warrant for the

14   defendant the same day.

15          On November 26, 2023, U.S. Customs and Border Protection

16   officers arrested defendant at LAX Airport after defendant returned

17   to the United States from Ireland, via London, United Kingdom.

18   Defendant made his initial appearance on November 27, 2023. [Dkt.

19   #7].

20          As discussed more fully below, the defendant poses a substantial

21   risk of flight and a danger to the community, and the government

22   argues there are no release conditions that can reasonably ensure his

23   appearance on the charges in this case.

24   II.    LEGAL STANDARD & ARGUMENT

25          The Bail Reform Act of 1984 permits pretrial detention of a

26   defendant without bail where “no condition or combination of

27   conditions will reasonably assure the appearance of the person as

28   required and the safety of any other person and the community.” 18

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1    U.S.C. § 3142(e). Detention is appropriate where a defendant is

2    either a danger to the community or a flight risk; it is not

3    necessary to prove both. United States v. Motamedi, 767 F.2d 1403,

4    1406 (9th Cir. 1985). A finding that a defendant is a flight risk

5    need only be supported by a preponderance of the evidence. Id. A

6    finding that a defendant is a danger to the community must be

7    supported by clear and convincing evidence. 18 U.S.C. §3142(f).

8          Danger to the community may include “pecuniary or economic

9    harm.” United States v. Reynolds, 956 F.2d 192 (9th Cir. 1992). To

10   determine whether conditions can reasonably assure defendant’s

11   appearance and the safety of the community, the Court considers: (1)

12   the nature and circumstances of the offenses; (2) the weight of the

13   evidence against the person; (3) the history and characteristics of

14   the person; and (4) the nature and seriousness of the danger to any

15   person or the community that would be posed by the person's release.

16   18 U.S.C. § 3142(g). With the defendant, these factors support

17   findings by the Court that no condition or combination of conditions

18   will reasonably assure the appearance of the defendant as required or

19   the safety of the community.

20         The government proffers the following evidence in support of its

21   request for detention and if needed, will call United States Postal

22   Inspection Service Inspector Christine Reins-Jardin to testify.

23         A.    The Offenses and Evidence Against Defendant

24         The nature and circumstances of the offenses in this case are

25   serious. In counts 1 and 2, the defendant caused hundreds of

26   thousands of dollars in losses to thousands of victims across the

27   United States over a period of just a few months. When defendant

28   found his company under investigation, defendant then caused it to

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1    fail to comply with a civil investigative demand issued by the FTC,

2    requiring Hon. James S. Otero to hold contempt proceedings in July

3    and August 2019. FTC v. Jason Cardiff, et al., No. 5:18-cv-2104-DMG,

4    Docket Nos. 181, 182, 183, 212.        Not to be deterred by the Court’s

5    orders in the civil case, and rather than produce documents to the

6    FTC, defendant instructed at least two employees to destroy them,

7    which serves as the basis for counts 3 and 4 of the Indictment.

8          Additionally, the weight of the government’s evidence against

9    the defendant is strong, including inculpatory emails written by the

10   defendant and his employees in perpetrating this scheme to defraud

11   former customers, financial data from Redwood’s payment processors

12   and customer relationship management system, and statements from

13   former employees regarding the defendant’s orders to destroy relevant

14   documents.

15         Finally, the government’s evidence against defendant has already

16   been tested and found to be persuasive within the civil matter, as

17   seen with the Court’s ultimate findings against defendant. On March

18   1, 2022, the Court granted summary judgement in favor of the FTC when

19   the Court found defendant violated sixteen counts of the FTC Act,

20   which included counts related to the charged conduct. See Exhibits A

21   and B, attached herein. Among a plethora of other deceptive conduct,

22   the Court found that defendant had violated the FTC Act “by causing

23   charges to be submitted for payment to consumers’ credit and debit

24   cards without the express informed consent of those consumers.”

25   Exhibit B, at 4:6-9. Thus, an independent factfinder has already

26   assessed the evidence—albeit at a lower civil standard—and found it

27   persuasive.

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1          B.    Defendant’s History & Characteristics

2          Defendant has a proven history of deception and dishonesty in

3    the representations he made to the Court and shown that he cannot

4    follow court orders. Specifically, Judge Otero found that defendant

5    obtained a second Irish passport after the Court had seized his first

6    one during the FTC litigation. See Exhibit C, 389:7-14. There, the

7    Court ordered defendant held overnight while the second passport was

8    located and secured. Id. at 341:1-7. Separately, the Court found that

9    the defendant continuously lied to the court-appointed receiver about

10   his assets and concealed his income and assets from the court. Id. at

11   391:2-6. During a contempt hearing on July 31, 2019, the Court

12   stated, “I would say of the 16 years I've been on the federal court,

13   I've never presided over a matter where the fraud committed by the

14   defendants was so clear, the deception so extreme. I'm astounded.”

15   Id. at 389:3-6.

16         In addition, the Court stated, “I've heard carefully from the

17   Cardiffs. Their stories are totally unbelievable. It's pretty clear

18   to the Court that they've lied, that they worked in concert with each
19   other and with others to avoid, violate the conditions of the orders

20   of the Court.” Id. at 390:3-7.

21         Given the defendant’s history and complete disregard for prior

22   orders issued by the Court, the defendant is unlikely to adhere to

23   conditions imposed by this Court if released.

24         C.    Defendant’s Risk of Flight

25         The defendant poses a significant risk of flight for multiple

26   reasons.

27         First, the defendant’s current ties to the United States are

28   tenuous at best. The defendant has no residence within the United

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1    States. As mentioned above, shortly after the conclusion of the FTC

2    civil matter, the defendant sold his home in California and moved to

3    Ireland with his wife and daughter, where all currently reside. The

4    defendant has not returned to the United States since he left in

5    early 2022 and maintains dual U.S. and Irish citizenship. Also as

6    discussed above, the Court found that the defendant tried to flee and

7    held the defendant in contempt for obtaining a second Irish passport

8    after the Court had seized his first. Specifically, Judge Otero

9    stated, “Let's get the marshals up. The Court has significant concern

10   that Mr. Cardiff is attempting to flee the jurisdiction of the Court.

11   He'll be placed in custody.” See Exhibit C, 154:9-12.

12         Second, the defendant allegedly possesses significant assets and

13   likely has the means to flee from prosecution. The defendant

14   routinely flaunts wealth by posting pictures and making statements

15   about it on social media. See Exhibit D. Unexplained is why defendant

16   has not offered any collateral as bond for himself.

17         In contrast, defendant’s company, Redwood, recently filed a

18   Registration Statement with the Securities and Exchange Commission,

19   wherein it stated that its “operations have been largely funded by

20   [defendant](our CEO and majority stockholder) and his affiliates,

21   which funding is treated as contributions to capital.” See Exhibit E.

22   Defendant signed the statement.        Redwood also

23         requires approximately $350,000 per month on an annualized
           basis for operating expenses to fund the costs associated
24         with our financing activities, legal and accounting
           expenses, other general and administrative expenses,
25         research and development, regulatory compliance, product
           development and maintenance, third party manufacturing
26         fees, and compensation of executive management and our
           employees. Based on our current cash position, without
27         additional financing we may not be able to pay our
           obligations past the fourth quarter of fiscal 2023.
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1          Redwood also noted in the Registration Statement the following:

2          As described in the report of our auditors for the years
           ended December 31, 2022 and 2021 and the notes to our
3          financial statements, there is substantial doubt about our
           ability to continue as a going concern, and if we are
4          unable to continue, you may lose your entire investment.

5          The uncertainty about our ability to continue in operation
           is based on our continuing losses from operation, limited
6          revenue and limited working capital, among other things
           which existed as of year-end December 31, 2022 and December
7          31, 2021. As of December 31, 2022, we had a cash balance of
           $0, working capital of $0 and an accumulated deficit of
8          $5,275,421.

9          Redwood also stated that year end operating expenses for 2022

10   totaled $143,713, which is also the company’s net loss. For 2021,

11   Redwood noted that it was under receivership (in conjunction with the

12   FTC litigation), and did not have any revenue or expenses, but did

13   have a deficit of over $5 million. No compensation was paid to

14   defendant in 2021 and 2022.       However, according to defendant, Redwood

15   has commenced clinical trials of its products in Chicago, Illinois

16   and approximate the cost as $1.25 million, the source of which is

17   unknown.    As such, there is substantial doubt that defendant is

18   generating any income from his job as CEO, yet broadcasting on social

19   media that he is wealthy and successful.           Defendant cannot have it

20   both ways.     Even if the Court were to grant defendant bond, defendant

21   is required to maintain active employment.

22         Third, the defendant left the United States and resided in

23   Ireland in an attempt to avoid arrest on criminal charges. On

24   November 26, 2023, USPIS Postal Inspectors went to LAX to arrest

25   defendant after he was detained by United States Custom and Border

26   Protection agents pursuant to the instant arrest warrant.               After

27   being advised of his Miranda rights and the charges against him, the

28   defendant told arresting agents that the FTC shut down his business

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1     in 2018, so the five year statute of limitations would have passed

2     for any charges.        Defendant stated that he won a hearing against the

3     FTC, so he was now being charged criminally because the FTC is mad

4     about losing.

5            Further, defendant’s latest trip to the United States was likely

6     planned to be a short one.        He was arrested with $7,000 in cash on

7     hand and with two carry-ons of luggage.            He told the arresting agents

8     that he was in Los Angeles to visit his 96-year-old father, who is

9     ill.    The arresting agents also asked him if anyone in Los Angeles

10    was expecting him so they could contact them on his behalf and

11    defendant stated there was not. These facts, taken together, further

12    strengthen that defendant 1) has no ties to this district; and 2) was

13    returning to the United States for a brief visit with his ill elderly

14    father and return to Ireland.

15           Fourth, the defendant faces a significant prison sentence if

16    convicted – including a two-year mandatory minimum for the aggravated

17    identity theft charge. The Ninth Circuit permits the district court,

18    in assessing the risk that a defendant will fail to appear, to

19    consider possible punishment as an incentive for a defendant to flee.

20    United States v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990). Here,

21    the potential punishment defendant faces on these charges creates a

22    strong incentive to flee, particularly for a person who has not

23    previously served any significant time in prison.

24           The defendant has little connecting him to the district and

25    every reason to flee the country, especially with his wife and child

26    located overseas and looking at a potentially long sentence, if

27    convicted. His conduct in his FTC litigation demonstrated a

28    successive disregard for court orders. Accordingly, the government

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1     submits that a preponderance of the evidence shows that defendant

2     should be detained as a flight risk.

3           D.    Defendant’s Danger to the Community

4           The defendant also poses a danger to the community which cannot

5     be mitigated by any conditions which the Court could impose. As

6     noted, the defendant has repeatedly demonstrated a complete disregard

7     of the law. As the Indictment alleges, the defendant is charged with

8     two counts of witness tampering wherein he directed two former

9     employees to destroy documents relevant to the FTC’s Civil

10    Investigative Demand in the civil matter. The government has string

11    and legitimate concerns that if the defendant were released, he would

12    contact witnesses who are the subject of the tampering charges now

13    that he is aware that he is indicted.

14    III. CONCLUSION

15          For the foregoing reasons, the United States respectfully

16    requests that the Court order the defendant be detained pending

17    trial. There is no condition or combination of conditions of release

18    that will assure that defendant will not flee or pose a danger to the

19    safety of any other person or the community.            Simply, defendant is

20    unlikely to abide by any condition or combination of conditions of

21    his release.

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